Case: 4:15-cr-00404-HEA Doc. #: 3115 Filed: 03/11/21 Page: 1 of 10 PageID #: 15719




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA,                   )
                                             )
                Plaintiff,                   )
                                             )
          v.                                 )       No. S5-4:15CR00404 HEA
                                             )
 MICHAEL GRADY, and                          )
 OSCAR DILLON, III,                          )
                                             )
                        Defendants.          )

                 GOVERNMENT'S OMNIBUS MOTIONS IN LIMINE

      COMES NOW the United States of America, by and through Sayler A Fleming,

 United States Attorney for the Eastern District of Missouri, and Donald Boyce and Michael

 A. Reilly, Assistant United States Attorneys for said District, and for its omnibus motions

 in limine states as follows:

                                I.
          GOVERNMENT’S FIRST MOTION IN LIMINE TO PRECLUDE
                 DEFENDANTS FROM COMMENTING ON
                POTENTIAL PUNISHMENT OR SENTENCE

        The Government moves this Court to enter an order prohibiting the defendants’

 attorneys from commenting on the potential punishment or sentencing if the defendants are

 convicted. It is black letter law that "[s]entencing is generally one of the areas barred from

 comment during closing arguments to the jury because the jury is supposed to be concerned

 solely with the determination of guilt." 75 AM.JUR.2D Trial ' 572 (1991). Indeed,

 Eighth Circuit Model Jury Instruction No. 3.12 provides that "if the defendant is found
                                                 1
Case: 4:15-cr-00404-HEA Doc. #: 3115 Filed: 03/11/21 Page: 2 of 10 PageID #: 15720




 guilty, the sentence to be imposed is [the Court's] responsibility. [The jury] may not

 consider punishment in any way in deciding whether the Government has proved its case

 beyond a reasonable doubt. In other words, where the Court, rather than the jury imposes

 punishment, "the duration of imprisonment for the crime in question is not a proper subject

 of commentary by counsel." 75 AM.JUR.2D Trial ' 572 (1991).

        Obviously, the defendants’ potential term of imprisonment or the factors supporting

 that term should not be a consideration in the jury's determination of guilt or innocence.

 Therefore, the Government requests that this Court enter an order precluding defense

 counsel from attempting to secure the jury's sympathy by commenting on the potential

 punishment or sentencing should the defendant be convicted.

                              II.
 SECOND MOTION IN LIMINE TO EXCLUDE PREVIOUS ALLEGATIONS OF
      PROSECUTORIAL AND LAW ENFORCEMENT MISCONDUCT

        The United States moves to exclude evidence of Defendants’ unfounded allegations

 of government misconduct. Defendants raised a plethora of allegations of misconduct and

 vindictive prosecution, previously moving to dismiss the indictment [DCD 1352, 2186].

 These claims were denied after extensive hearings before the Court [DCD 2646, 2586].

 These unfounded allegations are irrelevant and unduly prejudicial, in that they serve only

 to confuse the jury. The Eighth Circuit Court of Appeals recognized this in United States

 v. Sanders, 196 F.3d 910, 914 (8th Cir. 1999) (affirming a district court=s ruling preventing

 defense counsel from continuing Ato cast doubt on the legality of the stop and search.@).

 While Sanders addressed the Court’s ruling on a search and seizure issue, the principle is
                                              2
Case: 4:15-cr-00404-HEA Doc. #: 3115 Filed: 03/11/21 Page: 3 of 10 PageID #: 15721




 the same. The Court should reject any effort to raise issues that are irrelevant, unduly

 prejudicial, and would only confuse the jury.

                              III.
   THIRD MOTION IN LIMINE TO EXCLUDE EVIDENCE OF LAWSUITS
  ALLEGING PROSECUTORIAL AND LAW ENFORCEMENT MISCONDUCT

        Both Defendants have sued law enforcement personnel and Assistant United States

 Attorneys (AUSA). See Michael Grady v. James Gaddy, Michael Reilly, and Dean Hoag,

 4:19 CV 1701 NCC [DCD 27, 28]; Oscar Dillon, III v. Michael A. Reilly, James Williams,

 Tom Llewellyn, James Gaddy, 4:19 CV 3119 JCH [DCD 19, 23, 24].            The Court should

 reject any effort to raise issues that are irrelevant, unduly prejudicial, and would only

 confuse the jury.

                               IV.
          FOURTH MOTION IN LIMINE TO EXCLUDE EVIDENCE
       THAT DEFENDANT DILLON WAS ACQUITTED OF CONDUCT
     THAT WILL BE OFFERED AS EVIDENCE PURSUANT TO RULE 404(b)

        On March 1, 2021, this Court issued its order allowing evidence of the events of

 September 7, 2016 pursuant to Rule 404(b) in relation to Defendant Dillon [DCD 3063].

 In United States v. Dillon and Burris, 4:17 CR 95 RWS, Dillon was acquitted of conspiracy

 to distribute cocaine and attempt possession with intent to distribute cocaine in relation to

 the events of September 7, 2016.      The United States moves to exclude evidence of the

 jury’s verdict of acquittal at the upcoming trial in this matter.

        In United States v. Vega, 676 F.3d 708, 719 (8th Cir. 2012), the Eighth Circuit has

 found acquitted conduct that meets the Rule 404(b) four-factor admissibility test to be

                                                3
Case: 4:15-cr-00404-HEA Doc. #: 3115 Filed: 03/11/21 Page: 4 of 10 PageID #: 15722




 admissible. Further, the Eighth Circuit found that the District Court in Vega was correct

 in prohibiting the defendant from presenting evidence that the prior conduct had been

 acquitted. Id. at 720. Evidence that the conduct resulted in judgments of acquittal were

 found to be inadmissible because the judgments are hearsay and “they do not prove

 innocence; they simply show that the government did not meet its burden of proving guilt

 beyond a reasonable doubt.” Id. (internal citations omitted). For the reasons set forth in

 Vega, the United States moves to exclude evidence of the acquittal in this case.

                                V.
    FIFTH MOTION IN LIMINE TO PERMIT USE OF PRIOR CONVICTIONS
            DURING CROSS EXAMINATION OF DEFENDANT

        The United States moves to introduce three of Defendant Grady’s prior convictions

 for purposes of impeachment should he testify. On January 20, 2000, Judge Stephen N.

 Limbaugh, in cause number S1-4:99CR 290, sentenced Michael Grady to 112 months in

 prison for conspiracy to possess with the intent to distribute heroin. Judge Limbaugh also

 imposed a five year term of supervised release. Bureau of Prisons records establish that

 Grady was released from prison on October 2, 2007. This conviction is admissible form

 impeachment purposes pursuant to Rule 609(a) in that it is a felony offense within ten years

 of the commission of this offense.

        On January 30, 1984, the Circuit Court of St. Louis County sentenced Defendant

 Grady to two consecutive terms of ten years imprisonment for two forgery offenses in

 cause number 476425. Missouri Department of Corrections records appear to indicate

 that Defendant Grady was released on October 27, 1997. The United States moves to
                                              4
Case: 4:15-cr-00404-HEA Doc. #: 3115 Filed: 03/11/21 Page: 5 of 10 PageID #: 15723




 admit these offenses for impeachment purposes pursuant to Rule 609(b) because the

 probative value substantially outweighs any prejudicial effect of the convictions.

        Federal Rule of Evidence 609(a) allows a party to offer evidence of a witness's prior

 conviction for purposes of attacking the witness's character for truthfulness, if the prior

 conviction was for a crime punishable by death or imprisonment in excess of one year

 under the applicable law. Fed. R. Evid. 609. If the conviction (or the release of the witness

 from the confinement imposed for that conviction) occurred more than ten years before

 trial, the court must determine whether the probative value of the conviction, supported by

 specific facts and circumstances, substantially outweighs its prejudicial effect, and the

 party offering the evidence must give his opponent advance written notice. United States

 v. Eagle, 515 F.3d 794, 804 (8th Cir. 2008) (citing Fed. R. Evid. 609). In other words,

 “prior convictions are admissible for impeachment purposes and ... any criminal defendant

 who takes the stand may be cross examined about his prior felony convictions.” United

 States v. Buchanan, 659 F.2d 878, 879 (8th Cir. 1981); United States v. Finch, 842 F.2d

 201 (8th Cir. 1988), cert. denied, 487 U.S. 1239, 108 S. Ct. 2911 (1988) (felon in

 possession). The trial court has broad discretion in determining whether to admit evidence

 concerning a prior conviction. United States v. Wesley, 990 F.3d 360, 365, 366 (8th Cir.

 1993)(citations omitted); United States v. Hood, 748 F.2d. 439, 441 (8th Cir. 1984). The

 weighing of the probative value against the prejudicial effect when evidence of a prior

 conviction is more than ten years old is offered for the purpose of attacking the credibility


                                              5
Case: 4:15-cr-00404-HEA Doc. #: 3115 Filed: 03/11/21 Page: 6 of 10 PageID #: 15724




 of a witness is similarly committed to the sound discretion of the trial court. United States

 v. Foley, 683 F.2d 273 (8th Cir. 1982).

        Here, the United States has provided previous written notice of its intent to impeach

 Defendant Grady with his forgery convictions, despite that the convictions occurred more

 than ten years ago. In weighing probative value versus any prejudicial effect of admitting

 prior convictions under Rule 609(b), courts consider the following factors:

        (1) The nature [impeachment value] of the crime.

        (2) The time of the conviction.

        (3) The similarity between the past crime and the charged crime.

        (4) The importance of [the witness’s] testimony.

        (5) The centrality of the credibility testimony.

 United States v. Porter, 2016 WL 879996 (E.D. LA March 8, 2016), citing United States

 v. Acosta, 763 F.2d 671, 695 (5th Cir. 1985). As to the first factor, the Fifth Circuit has

 held that “prior crimes involving deliberate and carefully premeditated intent such as fraud

 and forgery are far more likely to have probative value with respect to later acts than prior

 crimes involving a quickly and spontaneously formed intent.” Porter, quoting United

 States v. Cohen, 544 F.2d 781, 785 (5th Cir. 1977). “[S]uch crimes are more probative on

 the issue of propensity to lie under oath than more violent crimes that do not involve

 dishonesty.” Id. Defendant’s forgery convictions have significant probative value.

        The age of the conviction is measured from the date of conviction or release from

 confinement, whichever is later.         Rule 609(b).     Here, the United States believes
                                               6
Case: 4:15-cr-00404-HEA Doc. #: 3115 Filed: 03/11/21 Page: 7 of 10 PageID #: 15725




 Defendant Grady was release from the Missouri Department of Corrections on October 27,

 1997. He was incarcerated within a few years for his federal conviction, until 2007, when

 he was placed on a period of supervised release.

        There is similarity between Defendant Grady’s prior forgery offenses and efforts to

 obstruct justice and tamper with a witness in this case, including that Defendant Grady

 attempted to corruptly influence a witness to file an affidavit which contained falsehoods

 and to shade his testimony.

        Should Defendant Grady testify, he will directly contradict prosecution witnesses

 as to the elements of the offense, making his testimony both important and central to the

 issues to be decided in this case. This will make his credibility an important factor in the

 case. See United States v. Walker, 817 F.2d 461, 463 (8th Cir. 1983) (citations omitted).

 Where the resolution of a defendant’s guilt or innocence would depend in significant

 measure upon the credibility of the various witnesses, the jury is entitled to consider the

 defendant’s other felonious conduct to resolve that conflict. See United States v. Collier,

 527 F.3d 695 (8th Cir. 2008) (admission of the nature of defendant’s predicate felony, the

 sale or receipt of an access card to defraud, was warranted as impeachment evidence in

 felon in possession prosecution as defendant’s credibility was central to the issue of

 whether he knowingly possessed the firearm).

        On balance, the evidence supports a finding that the probative value of Defendant

 Grady’s forgery convictions substantially outweighs any prejudicial effect.


                                              7
Case: 4:15-cr-00404-HEA Doc. #: 3115 Filed: 03/11/21 Page: 8 of 10 PageID #: 15726




         Under Rule 609(a) inquiry about a prior conviction may extend to whether a prior

 conviction was obtained, when the conviction was obtained, and what the conviction was

 for. United States v. Wesley, 990 F.3d 360, 366 (8th Cir. 1993) (citations omitted). As to

 Defendant’s conviction for conspiracy to distribute heroin, it falls within the ten year

 window under Rule 609(a).        As a procedural matter, the United States respectfully

 requests that, should defendant testify, the Court make an explicit finding on the record

 that the probative value of the convictions outweighs their prejudicial effect and that the

 Court provide some indications of the reasons for its findings. Walker, 817 F.2d at 463

 (citations omitted); Hood, 748 F.2d. at 441 (The better practice is for the trial court to make

 an on the record finding that the test weighs in favor of, or against, the admission of the

 prior conviction.).

         Therefore, for the reasons stated, the United States requests the Court to permit the

 United States to cross-examine defendant regarding his prior convictions if Defendant

 elects to testify at trial.

                               VI.
     SIXTH MOTION IN LIMINE PERMITTING THE INTRODUCTION OF
   BUSINESS RECORDS WITHOUT CALLING A CUSTODIAN OF RECORDS,
          AND TO INTRODUCE RECORDS OF VITAL STATISTICS

         The United States has a business record that it may introduce at trial. The United

 States has previously provided call detail records with cell site information to counsel for

 defendants. The United States does not intend to call the custodians of records to

 authenticate these records. Nevertheless, they should be admitted.

                                               8
Case: 4:15-cr-00404-HEA Doc. #: 3115 Filed: 03/11/21 Page: 9 of 10 PageID #: 15727




        The Federal Rules of Evidence permit the admission of business records.

 AFed.R.Evid. 803(b) permits admission into evidence of >records of regularly conducted

 activity.=@ Shelton v. Consumer Products Safety Comm=n, 277 F.3d 998, 1009 (8th Cir.

 2002), cert. denied, 537 U.S. 1000 (2002). Furthermore, Fed.R.Evid. 902(11) permits

 business records to be introduced without the testimony of a custodian of records so long

 as a certificate accompanying the records certifies that it was: (1) made at or near the time

 of the occurrence by a person with knowledge; (2) kept in the course of the regularly

 conducted activity; and (3) made by the regularly conducted activity as a regular practice.

 The document and the declaration must be made available to the defendant for inspection.

 Fed.R.Evid. 902(11); Shelton, 277 F.3d at 1009 n. 9.

        In this instance, the United States has previously provided a copy of the certificate

 to Defendant for inspection prior to trial. The certificates will conform with Rule 902(11)=s

 requirements for the admissibility of the records without the need for the custodian of

 records to testify. Consequently, the Court should admit the records at trial without the

 need for a custodian.

        The United States has also previously provided counsel with copies of two birth

 certificates that it may move to introduce at trial pursuant to Rule 803(9), as public records

 of vital statistics. These records are self-authenticating pursuant to Rule 902(1)(a), (2),

 and or (4). Consequently, the records should also be admitted at trial.




                                               9
Case: 4:15-cr-00404-HEA Doc. #: 3115 Filed: 03/11/21 Page: 10 of 10 PageID #: 15728




                                           Respectfully submitted,

                                           SAYLER A. FLEMING
                                           United States Attorney

                                           s/ Michael A. Reilly
                                           MICHAEL A. REILLY #43908MO
                                           DONALD BOYCE #6282562IL
                                           Assistant United States Attorney
                                           111 South 10th Street, 20th Floor
                                           St. Louis, MO 63102
                                           (314) 539-2200



                             CERTIFICATE OF SERVICE

        I hereby certify that on March 11, 2021, the foregoing was filed electronically
 with the Clerk of the Court to be served upon Counsel of record.

                                                  s/Michael A. Reilly
                                                  Michael A. Reilly, 43908MO
                                                  Assistant United States Attorney




                                             10
